                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
                v.                           )       No.07-00187-10-CR-W-NKL
                                             )
GAUDENCIO BAUTISTA,                          )
                                             )
                              Defendant.     )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

        Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays, to which no objection has been filed, the plea of guilty to Count 4 of the Indictment are now

accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order

of the court.


                                                      s/ NANETTE K. LAUGHREY
                                                     NANETTE K. LAUGHREY
                                                     United States District Judge

Dated: April 2, 2008




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